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                                                                                                                              APPLICATION GRANTED
April 6, 2018                                                                                                                     SO ORDERED

                                                                                                                      ~&I~     John G. Koeltl, U.S.D.J.

Hon. John G. Koeltl
United States District Judge
Daniel Patrick Moynihan U.S. Courthouse
500 Pearl Street
New York, NY 10007-1312

Re:    Zabaleta v. Duke, 17 Civ. 7 512

Dear Honorable Judge Koeltl:

       We write with the consent of counsel for the United States, Kirti Reddy, to respectfully request a
week's extension of time to file a supplemental complaint in the above-captioned case. The original
deadline per the Court's order is this Friday, April 6, 2018. The proposed new deadline is Friday, April 13,
2018. This is the plaintiffs first request for an extension.

       Under the proposed new schedule, all of the other deadlines would be extended by an additional
week. By our calculation, this would mean that the U.S.'s response would be due on June 15 (instead of
June 8); that Plaintiffs response would be due on July 6 (instead of June 29); and that the U.S.'s reply
would be due on July 16 (instead of July 9).

                                                                                     Very truly yours,


                                                                                     Scott Foletta, Esq.
                                                                                     Make the Road NY

cc: Kirti Reddy, Assistant U.S. Attorney, S.D.N.Y.




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